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 4
     Attorney for Defendant
 5   JOSE COBIAN
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,
                                                         Case No. 2:09-cr-0501 WBS
11                  Plaintiff,

12   v.
                                                         STIPULATION AND [PROPOSED] ORDER
13                                                       TO CONTINUE STATUS CONFERENCE
     JOSE COBIAN,
14
                    Defendant.
15
16
17
18                                               STIPULATION
19           Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jill Thomas, and defendant, Jose Cobian, by and through his counsel, Erin J. Radekin,
21   agree and stipulate to vacate the date set for status conference, October 31, 2011 at 9:30 a.m., and to
22   continue the status conference until November 14, 2011 at 9:30 a.m., in the courtroom of the
23   Honorable William B. Shubb.
24           The parties have settled on terms of a plea agreement and contemplate that Mr. Cobian will
25   change his plea on November 14, 2011; however, the government has not yet provided a written plea
26   agreement. Further, Ms. Radekin needs time to meet with Mr. Cobian and review the written plea
27   agreement with an interpreter prior to entry of plea. The Court is advised that Ms. Thomas concurs
28   with this request and has authorized Ms. Radekin to sign this stipulation on her behalf.
             The parties further agree and stipulate that the time period from the filing of this stipulation
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 1   until November 14, 2011 should be excluded in computing time for commencement of trial under
 2   the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and
 3   Local Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective
 4   defense preparation. It is further agreed and stipulated that the ends of justice served in granting the
 5   request outweigh the best interests of the public and the defendant in a speedy trial.
 6          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 7   IT IS SO STIPULATED
 8   Dated: October 25, 2011                                  BENJAMIN WAGNER
                                                              United States Attorney
 9
                                                       By:           /s/ Jill Thomas
10                                                            JILL THOMAS
                                                              Assistant United States Attorney
11
12
     Dated: October 25, 2011                                        /s/ Erin J. Radekin
13                                                            ERIN J. RADEKIN
                                                              Attorney for Defendant
14                                                            JOSE COBIAN
15
16                                                   ORDER
17          For the reasons set forth in the accompanying stipulation and declaration of counsel, the
18   status conference of October 31, 2011 at 9:30 a.m. is VACATED and the above-captioned matter is
19   set for status conference on November 14, 2011 at 9:30 a.m. The court finds excludable time in this
20   matter through November 14, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to
21   allow continuity of counsel and to allow reasonable time necessary for effective defense preparation.
22   For the reasons stipulated by the parties, the Court finds that the interest of justice served by granting
23   the request outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
24   3161(h)(7)(A), (h)(7)(B)(iv).
25   IT IS SO ORDERED.
26   Dated: October 26, 2011
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28


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